
ON MOTION FOR REHEARING AND CLARIFICATION
Appellant suggests that our original opinion is in error when it states in the footnote that “Bay Lake is completely within River Country ... ”, and that we probably intended to say that Bay Lake is completely enclosed by property owned by Walt Disney World Company. Although it does not affect the result, we therefore correct the footnote in the original opinion so that it reads: “Bay Lake is completely enclosed by property owned by Walt Disney World Company, and evidence was presented upon which it could be found that it was either owned by Disney or within its complete control.”
Except as the original opinion is clarified herein, the petition for rehearing is denied.
DAUKSCH and COWART, JJ., concur.
